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May 31, 2024


VIA ECF

The Honorable John G. Koeltl
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312


       Re:        United States v. Roni Cohen-Pavon, 1:23-cr-00347-JGK

Dear Judge Koeltl:

        We represent defendant Roni Cohen-Pavon (“Mr. Cohen-Pavon”) in the above-captioned
action. On September 5, 2023, a personal recognizance bond was entered as to Mr. Cohen-Pavon
following his appearance before Magistrate Judge Valerie Figueredo that same day (the “Bond”).
Pursuant to the terms of the Bond, Mr. Cohen-Pavon is restricted to travel within Israel, the
Southern District of New York, the Eastern District of New York, and points in between for travel
to the Southern District of New York.

        We write on Mr. Cohen-Pavon’s behalf to permit him to travel from Israel to Tokyo, Japan
on June 4, 2024 through June 10, 2024 for business purposes.1

        Pretrial Services Officer Assistant Taelor Nisbeth was contacted regarding the travel
request and took no position on the request, deferring to the Government’s position. Undersigned
counsel contacted AUSAs Adam Hobson and Peter Davis and has been informed that the
Government does not object to Mr. Cohen-Pavon’s travel request.




1
    These dates reflect the time of Mr. Cohen-Pavon’s proposed travel in the Israeli time zone.
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                                                                United States District Judge
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        We thank the Court for its consideration of this request.


Respectfully submitted,

/s/ Jeffrey A. Brown

Jeffrey A. Brown

cc: All counsel of record (via ECF)
    Pretrial Services Officer Assistant Taelor Nisbeth (via email)
